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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                 BOWLING GREEN DIVISION

   LOANDRIA DAHMER,                                                                      Plaintiff,

   v.                                                        Civil Action No. 1:18-cv-124-DJH-LLK

   WESTERN KENTUCKY UNIVERSITY et al.,                                                Defendants.

                                                 * * * * *

                                                 ORDER

         United States Magistrate Judge Lanny King having informed the Court that the matter was

  resolved at the settlement conference on January 25, 2024 (Docket No. 127), and the Court being

  otherwise sufficiently advised, it is hereby

         ORDERED that this action is DISMISSED without prejudice. Defendants’ renewed

  motion for summary judgment (D.N. 113) is DENIED as moot.

         The parties shall tender an agreed order of dismissal with prejudice within forty-five (45)

  days of entry of this Order. The Court will entertain a motion to redocket the action within

  forty-five (45) days of entry of this Order in the event the settlement is not consummated.

    rther it is ORDERED that o motion to redocket the case may be filed before the parties

  have conferred with U.S. Magistrate Judge Lanny King.


          January 29, 2024




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